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                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  GREENVILLE DIVISION

 BRENDA J. COOPER, ET AL.                                                           PLAINTIFFS
 versus                                                   Civil Action No. 4:16-cv-52-DMB-JMV
 MERITOR, INC., ET AL.                                                           DEFENDANTS

                                             - Consolidated With –
 JOE E. SLEDGE, ET AL.                                                             PLAINTIFFS
 versus                                                  Civil Action No. 4:16-cv-53-DMB- JMV
 MERITOR, INC., ET AL.                                                           DEFENDANTS
                                                       - and -
 KATHERINE LONGSTREET COOKE, ET AL.                         PLAINTIFFS
 versus                           Civil Action No. 4:16-cv-54-DMB-JMV
 MERITOR, INC., ET AL.                                    DEFENDANTS
                                                                               - and -
 SRA INVESTMENTS, LLC, ET AL.                                                       PLAINTIFFS
 versus                                                   Civil Action No. 4:16-cv-55-DMB-JMV
 MERITOR, INC., ET AL.                                                            DEFENDANTS
                                                                               - and -
 FELICIA WILLIS, ET AL.                                                             PLAINTIFFS
 versus                                                    Civil Action No. 4:16-cv-56-DMB-JMV
 MERITOR, INC., ET AL.                                                            DEFENDANTS


                                                      ORDER

        This matter is before the Court on Plaintiffs' motion to compel the deposition of Defendants’

expert, Jim Peeples, on those certain matters which arise from and relate to the T&M documents

discussed and identified in Plaintiffs' motion to compel. The Court, having considered the motion,

response, and reply, finds that for the reasons articulated by the Plaintiffs in their motion and reply,

the motion is well taken, and the request to depose Mr. Peeples on the subject matters described

therein as new is granted.1 The deposition should occur no later than 14 days from today.




       1
         The Court notes that Plaintiffs have withdrawn the request for relief as relates to one of the documents
       identified in the motion.
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       The Court notes, however, that the Plaintiffs have further “reserve[d] the right to depose Mr.

Peeples on new issues or information raised by additional T&M documents, once the T&M document

production is complete and once all privilege issues related thereto are resolved by either a meet and

confer process or the Court's ruling thereon.” As to this reservation, the Court admonishes Plaintiffs'

counsel that Plaintiffs appear to be again engaging in the wholesale disregard of the deadlines

imposed in this case. Absent some exceptional circumstance the undersigned can't fathom at this

juncture, there will be no further deposition of Mr. Peeples. Plaintiffs' counsel should prepare to ask

Mr. Peeples any additional questions he might have of him at the upcoming trial.

       SO ORDERED this 11th day of January, 2018.



                                                             /s/ Jane M. Virden
                                                             U. S. Magistrate Judge




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